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                                    UNITED STATES DISTRICT COURT
                                     FOR THE Northern District of Texas
                                                 Dallas



                                                      )
USA                                                   )
        Plaintiff,                                    )
                                                      )
v.                                                    )     Case Number: 3:21−cr−00366−S
                                                      )
Yaroslav Vasinskyi                                    )
       Defendant.                                     )


                                              DETENTION ORDER

        Before the court is the government's motion to detain the defendant pending further

proceedings. After consultation with counsel, the defendant knowingly and voluntarily waived the right

to a hearing on the motion at this time, subject to any reservation of rights on the waiver form.

The government's motion for detention is therefore GRANTED.



        The defendant is committed to the custody of the Attorney General or a designated

representative for confinement in a corrections facility separate, to the extent practicable, from persons

awaiting or serving sentences or held in custody pending appeal. The defendant must be afforded a

reasonable opportunity to consult privately with defense counsel. On order of a United States Court or

on request of an attorney for the Government, the person in charge of the corrections facility must deliver

the defendant to the United States Marshal for appearance in connection with court proceedings.


        SO ORDERED ON 3/9/2022.




                                                            Irma Carrillo Ramirez
                                                            Magistrate Judge
